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      Of Attorneys for Plaintiff


                          UNITED STATES DISTRICT COURT

                                   DISTRICT OF IDAHO

 PAVESTONE CAPITAL, LLC an Idaho      )           Case No.
 Limited Liability Company,           )
                                      )           COMPLAINT (BREACH OF
                   Plaintiff,         )           CONTRACT; BREACH OF
                                                  GUARANTEE)
             v.                       )
                                      )           DEMAND FOR JURY TRIAL
 HOT ROUTE DELIVERY SPECIALISTS,      )
 LLC, a Delaware Limited Liability    )
 Company, HOT ROUTE DELIVERY          )
 SPECIALISTS-SOUTHEAST LLC, a         )
 Delaware Limited Liability Company,  )
 CHRISTOPHER CASSELS, an individual,
 and STEPHEN R. SAVANT, an individual )
                                      )
                   Defendants.        )
 ___________________________________ )

      Plaintiff Pavestone Capital, LLC (“Pavestone”) alleges:

                                     JURISDICTION

      1.      The subject controversy is between citizens of different states.

Pavestone’s damages exceed $75,000. Therefore, the Court has diversity jurisdiction

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over this controversy pursuant to 28 U.S.C. § 1332.

                                             VENUE

       2.      Venue is proper in this district pursuant to 28 U.S.C. § 1391(a) and the

forum selection provisions of the Purchase and Sale Agreement, and of each Personal

Guarantee attached as an exhibit to this Complaint.

                                           PARTIES

       3.      At all material times, Pavestone was a limited liability company duly

organized and existing under the laws of the state of Idaho and authorized to do

business in the state of Idaho and Utah, and with its principal place of business in the

state of Idaho.

       4.      At all material times, Defendant Hot Route Delivery Specialists, LLC (“Hot

Route”) was a Delaware limited liability company maintaining its principal place of

business in the state of Texas.

       5.      At all material times, Defendant Hot Route Delivery Specialists-Southeast,

LLC (“Hot Route SE”) was a Delaware limited liability company maintaining its principal

place of business in the state of Texas.

       6.      At all material times, Defendant Christopher Cassels (“Cassels”) was an

individual residing in the state of Texas.
       7.      At all material times, Defendant Stephen R. Savant (“Savant”) was an

individual residing in the state of Texas.

                               FIRST CLAIM FOR RELIEF

                            (Breach of Contract: Hot Route)

       8.      Pavestone realleges paragraphs 1 through 7 above as if fully set forth

herein.

       9.      On or about February 27, 2017, Pavestone and Hot Route entered into a


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contract entitled Purchase and Sale Agreement, a copy of which is attached hereto as

Exhibit A (the “Hot Route PSA”).

       10.   Section 25 of the Hot Route PSA recites various events of default. Hot

Route is in default under the Hot Route PSA.

       11.   Pavestone has performed all obligations required of it under the Hot Route

PSA.

       12.   Despite Pavestone’s demands, Hot Route has not paid Pavestone. The

balance due and owing under the Hot Route PSA as of December 1, 2017 is no less

than $309,639.29. In addition, Pavestone is entitled to recover service fees and other

amounts as provided the Hot Route PSA until Pavestone is paid.

       13.   Section 26 of the Hot Route PSA entitles Pavestone to an award of its

reasonable attorney fees and costs incurred in enforcing its rights under the Hot Route

PSA.

                            SECOND CLAIM FOR RELIEF

                         (Breach of Contract-Hot Route SE)

       14.   Pavestone realleges paragraphs 1 through 13 as if fully set forth herein.

       15.   On or about February 27, 2017, Pavestone and Hot Route SE entered into

a contract entitled Purchase and Sale Agreement, a copy of which is attached hereto as
Exhibit B (the “Hot Route SE PSA”).

       16.   Section 25 of the Hot Route SE PSA recites various events of default. Hot

Route SE is in default under the Hot Route SE PSA.

       17.   Pavestone has performed all obligations required of it under the Hot Route

SE PSA.

       18.   Despite Pavestone’s demands, Hot Route SE has not paid Pavestone.

The balance due and owing under the Hot Route SE PSA as of December 1, 2017, is


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no less than $219,739.85. In addition, Pavestone is entitled to recover service fees and

other amounts as provided the PSA until paid.

      19.     Section 26 of the Hot Route SE PSA entitles Pavestone to an award of its

reasonable attorney fees and costs incurred in enforcing its rights under the Hot Route

SE PSA.

                              THIRD CLAIM FOR RELIEF

                            (Breach of Guarantee-Cassels)

      20      Pavestone realleges paragraphs 1 through 19 as if fully set forth herein.

      21.     On or about February 27, 2017, for valuable consideration, Cassels

executed and delivered to Pavestone a Personal Guarantee of all of Hot Route’s

obligations to Pavestone then existing or thereafter arising, and a Personal Guarantee

of all of Hot Route SE’s obligations to Pavestone then existing or thereafter arising. A

copy of each Personal Guarantee Cassels signed and delivered to Pavestone is

attached as Exhibit C and D, respectively.

      22.     The amount due to Pavestone from Cassels under the Personal

Guarantees is not less than $529,379.14, plus all other amounts due and to become

due from Hot Route and Hot Route SE, including attorney fees and costs incurred by

Pavestone.
      23.     Despite demand, Cassels has not paid Pavestone any portion of the

amounts due to Pavestone.

                             FOURTH CLAIM FOR RELIEF

                            (Breach of Guarantee-Savant)

      24.     Pavestone realleges paragraphs 1 through 23 as if fully set forth herein.

      25.     On or about February 27, 2017, for valuable consideration, Savant

executed and delivered to Pavestone a Personal Guarantee of all of Hot Route’s


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obligations to Pavestone then existing or thereafter arising, and a Personal Guarantee

of all of Hot Route SE’s obligations to Pavestone then existing or thereafter arising. A

copy of each Personal Guaranty Savant signed and delivered to Pavestone is attached

as Exhibit E and F, respectively.

         26.     The amount due to Pavestone from Savant under the Personal

Guarantees is not less than $529,379.14, plus all other amounts due and to become

due from Hot Route and Hot Route SE, including attorney fees and costs incurred by

Pavestone.

         27.     Despite demand, Savant has not paid Pavestone any portion of the

amounts due to Pavestone.

         WHEREFORE, Pavestone prays for judgment against each Defendant as

follows:

         1.      On its First Claim for Relief, awarding Pavestone judgment against Hot

Route in the sum of not less than $309,639.29, plus service fees and other fees allowed

under the PSA, and Pavestone’s reasonable attorney fees and costs;

         2.      On its Second Claim for Relief, awarding Pavestone judgment against Hot

Route SE in the sum of not less than $219,739.85, plus service fees and other fees

allowed under the PSA, and Pavestone’s reasonable attorney fees and costs;
         3.      On its Third Claim for Relief awarding Pavestone judgment against

Cassels in the sum of not less than $529,379.14, plus other amounts due under the

each Personal Guarantee and awarding Pavestone’s reasonable attorney fees and

costs;

         4.      On its Fourth Claim for Relief awarding Pavestone judgment against

Savant in the sum of not less than $529,379.14, plus other amounts due under each

Personal Guaranty and awarding Pavestone’s reasonable attorney fees and costs; and


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         5.       For any other relief the Court deems just and equitable.

         Dated this _22nd _ day of December, 2017.

                                             HONSINGER LAW PLLC


                                             /s/ Charles L. Honsinger_____________________
                                             Charles L. Honsinger, ISB No. 5240
                                             Attorneys for Plaintiff

                                             SUSSMAN SHANK LLP


                                             By /s/ Howard M. Levine________
                                                Howard M. Levine, Oregon State Bar No. 800730
                                                Attorneys for Plaintiff
                                                Pro Hac Vice to be submitted
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